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                      THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


KARI PROSKIN,

     Plaintiff,
                                                   Civil Action No. 3:23-cv-30078
v.
                                                   ORAL ARGUMENT REQUESTED
FOURSQUARE LABS, INC.,

     Defendants.



FOURSQUARE LABS, INC.’S MOTION TO DISMISS THE COMPLAINT PURSUANT
     TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND 12(b)(6)

         Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant

Foursquare Labs, Inc. (“Foursquare”) hereby moves to dismiss the Complaint filed by Plaintiff

Kari Proskin (ECF No. 1) in its entirety and with prejudice. The grounds for this Motion are set

forth in the Memorandum of Law in Support of Foursquare’s Motion to Dismiss the Complaint

and the accompanying exhibits.

         WHEREFORE, Foursquare respectfully requests that this Court issue an Order

dismissing the Complaint in its entirety and with prejudice, and granting such other and further

relief as the Court deems just and proper.

                            REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1(d), Foursquare believes that oral argument may assist the

Court and requests oral argument of this motion.
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Dated: September 14, 2023            Respectfully submitted,
                                     FOURSQUARE LABS, INC.
                                     By its attorneys,

                                     /s/ Jennifer L. Chunias
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                                     Attorneys for the Defendant




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                            LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I, Jennifer L. Chunias, hereby certify that, prior to filing

this Motion, counsel for Defendant conferred in good faith with opposing counsel and were

unable to resolve the issues presented in this Motion.


                                CERTIFICATE OF SERVICE

       I, Jennifer L. Chunias, hereby certify that a copy of the foregoing document, filed through

the CM/ECF system, will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing (NEF) on September 14, 2023.



                                                             /s/ Jennifer L. Chunias________
                                                             Jennifer L. Chunias




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